OPINION — AG — ** RETIREMENT — VESTED BENEFITS ** THOSE MEMBERS OF THE OKLAHOMA LAW ENFORCEMENT RETIREMENT SYSTEM WHO BECAME MEMBERS OF THE SYSTEM PRIOR TO JULY 1, 1980, WHO ELECTED A VESTED BENEFIT, TERMINATED THEIR EMPLOYMENT PRIOR TO THE EFFECTIVE DATE OF 47 O.S. 2-300 [47-2-300] AND WERE NOT YET RECEIVING A BENEFIT AT THE TIME OF THE AMENDMENT, WILL HAVE THEIR NORMAL RETIREMENT DATE COMPUTED ACCORDING TO THE STATUTE AS AMENDED AND NOT THE STATUTE THAT EXISTED AT THE TIME THEY TERMINATED THEIR SERVICE. (RETIREMENT DATE) CITE: OPINION NO. 85-186, 47 O.S. 2-308 [47-2-308], 47 O.S. 2-300 [47-2-300] (THOMAS L. SPENCER)